UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                      X


 UNITED STATES OF AMERICA                  SEALED
                                           INDICTMENT
             -     v. -
                                           20 Cr.
 LAWRENCE RAY,
    a/k/a "Lawrence Grecco,"

                 Defendant.
                                             20CRIM 110
                                      X



                 The Grand Jury charges:

                              FACTUAL BACKGROUND

             1.       During the time period relevant to this

Indictment, LAWRENCE RAY, a/k/a "Lawrence Grecco," the

defendant, targeted a group of college students and others (the

"Victims") for indoctrination and criminal exploitation.         RAY

lived with some of the Victims, first in on-campus housing at a

college in Westchester County, New York, and thereafter at

locations in Manhattan, New York, Pinehurst, North Carolina, and

elsewhere.        Over the course of nearly a decade, between in or

about 2010 through the present, RAY subjected the Victims to

sexual and psychological manipulation and physical abuse.         RAY

extracted false confessions from at least seven Victims that

they had caused harm and damage to RAY and to his family members

and other associates.         RAY leveraged the Victims' false

confessions to extort money from the Victims, to force some of
the Victims to perform unpaid manual labor, and to cause one of

the female Victims ("Female Victim-1") to engage in commercial

sex acts for RAY's financial benefit in New'York City and

elsewhere.

             2.   LAWRENCE RAY, a/k/a "Lawrence Grecco," the

defendant, conspired with and enlisted others to assist in some

of his crimes, and laundered his criminal proceeds, which

amounted to approximately one million dollars obtained from at

least five Victims.

         PHYSICAL AND PSYCHOLOGICAL THREATS AND COERCION

             3.   In or about late 2010, LAWRENCE RAY, a/k/a

"Lawrence Grecco," the defendant, moved in to on-campus housing

with his daughter and her male and female roommates (the

"Roommates") during their sophomore year at a college in

Westchester County, New York (the "College").     RAY began

"therapy" sessions with some Roommates purportedly to help them

with their psychological problems, and presented himself as a

father figure to the Roommates.

             4.   Beginning in the summer of 2011, several of the

Roommates lived with LAWRENCE RAY, a/k/a "Lawrence Grecco," the

defendant, in a one-bedroom apartment on the Upper East Side of

Manhattan, New York (the "Apartment").     They introduced RAY to

other Victims, who spent time at the Apartment.


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          5.     Beginning at the College, and continuing in the

Apartment, LAWRENCE RAY, a/k/a "Lawrence Grecco," the defendant,

lectured the Victims on his personal philosophy and conducted

his "therapy" sessions with the Victims, during which he learned

intimate details about their private lives, vulnerabilities, and

mental health struggles under the pretense of helping them.       RAY

alienated several of the Victims from their parents, and

convinced several of the Victims that they were "broken" and in

need of fixing by RAY.

          6.     After gaining the Victims' trust and confidences,

LAWRENCE RAY, a/k/a "Lawrence Grecco," the defendant, subjected

the Victims to interrogation sessions that typically involved

verbal and physical abuse.    RAY would target one Victim at a

time in the presence of other Victims, and often with the

assistance of at least one associate.    During the

interrogations, RAY made false accusations against the Victims,

including that the Victims had.deliberately:    (1) damaged the

Apartment and RAY's property, and stolen RAY's property;

(2) harmed and sabotaged RAY and his family members and other

associates;    (3) lied about their intentions and actions; and

(4) poisoned RAY and his family members and other associates.

          7.     When a Victim denied a false accusation by

LAWRENCE RAY, a/k/a "Lawrence Grecco," the defendant, the


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interrogations would often last hours.    RAY demanded confessions

from the Victims through tactics that included sleep

deprivation, psychological and sexual humiliation, verbal abuse,

threats of physical violence, physical violence, and threats of

criminal legal action.    RAY ultimately extracted false

confessions from at least seven Victims that they had

intentionally damaged RAY's and his family members' and other

associates' property and/?r had poisoned RAY and his family

members and other associates.

          8.   For example, LAWRENCE RAY, a/k/a "Lawrence

Grecco," the defendant,   falsely accused a male Victim ("Male

Victim-1") of damaging RAY's property, and brandished a knife

and threatened to dismember Male Victim-1 with it, leading Male

Victim-1 to falsely confess wrongdoing.    On another occasion,

RAY falsely accused a male Victim ("Male Victim-2") of

wrongdoing and placed a knife to his throat until he confessed.

RAY singled out another male Victim ("Male Victim-3") for

physical abuse that included grabbing him around the neck until

RAY rendered Male Victim-3 unconscious.    When two of the female

Victims ("Female Victim-2" and "Female Victim-3") brought home

food that· had turned cold, RAY accused them of wrongdoing,

grabbed Female Victim-3 by the face and neck, and shoved Female

Victim-3 to the floor.    On other occasion's, RAY threatened to


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report Female Victim-2 and Female Victim-3 to law enforcement

for their alleged crimes, and to prevent Female Victim-3 from

graduating from college by reporting her to the president of her

university.

          9.    LAWRENCE RAY, a/k/a "Lawrence Grecco," the

defendant, took and kept explicit photographs of some of the

Victims, and sometimes documented and retained his Victims'

false confessions, including through video.   In one video,   for

example, RAY questioned Female Victim-1 for details about her

alleged poisoning of RAY and others (the "Female Victim-1

Confession Video").   RAY directed the Victims to document their

supposed wrongdoing in journals and emails, and kept copies of

these documents.   For example, RAY retained a list emailed to

him by Male Victim-3 that listed each item of RAY's property

that Male Victim-3 had supposedly damaged, such as furniture and

kitchen appliances, as well as that property's monetary value,

allegedly totaling tens of thousands of dollars.

                             EXTORTION

          10.   LAWRENCE RAY, a/k/a "Lawrence Grecco," the

defendant, used the Victims' false confessions to threaten the

Victims with law enforcement action and to obtain purported

damages from the Victims.   Many of the Victims, most of whom

were teenagers or young adults during the relevant time period,


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lacked funds to pay the damages alleged by RAY, and RAY told

them to get money from their parents.      The Victims resorted to

various measures to repay their supposed debts to RAY, including

draining their parents' savings in the amount of hundreds of

thousands of dollars, opening lines of credit, soliciting

contributions from acquaintances, selling real estate ownership,

and-at RAY's direction-performing unpaid labor for RAY and

earning money through prostitution.     During the time period

relevant to this Indictment, RAY successfully extorted at least

five Victims, in an amount totaling approximately one million

dollars.   Associates of RAY's helped RAY collect and transfer

the criminal proceeds, which RAY shared with at least two other

associates.

                            FORCED LABOR

           11.   In or about 2013, LAWRENCE RAY, a/k/a "Lawrence

Grecco," the defendant, and some of the Victims traveled to

Pinehurst, North Carolina for the purpose of making physical

improvements on private property owned by RAY's family member

(the "Pinehurst Property").   While living at the Pinehurst

Property, and over the course of several months, RAY forced some

of the Victims, including Female Victim-1, Female Victim-2, and

Female Victim-3 to perform manual labor on the Pinehurst

Property, including the installation of an irrigation system.


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These Victims worked without pay, in part to repay the supposed

damages they had caused RAY in Manhattan, New York.   RAY was

joined in Pinehurst by an associate who did not perform any

manual labor, but who assisted RAY in planning the labor

projects and carrying out his scheme.

          12.   LAWRENCE RAY, a/k/a "Lawrence Grecco," the

defendant, obtained the labor of Female Victim-1, Female Victim-

2, and Female Victim-3 on the Pinehurst Property, including

through the following means:

                a.   RAY restricted their access to food and

sleep, including by placing a lock on the refrigerator and by

forcing Female Victim-1, Female Victim-2, and Female-3 to work

in the middle of the night and to sleep outside in the summer

heat.

                b.   RAY was physically violent with Female

Victim-1, Female Victim-2, and Female Victim-3, including, for

example, slapping Female Victim-2 and grabbing Female Victim-2

by the head and shoving her to the ground.

                c.   RAY berated Female Victim-1, Female Victim-

2, and Female Victim-3, and falsely accused them of

intentionally doing bad work, intentionally damaging the

Pinehurst Property, and causing RAY monetary loss.

                d.   RAY threatened to report Female Victim-2 and


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Female Victim-3 to the police for their wrongdoing, and drove

each to the local police station on separate occasions.

                e.   RAY threatened that if the Victims performed

inadequate work on the Pinehurst Property, his family member who

owned the Pinehurst Property would have a heart attack and die.

                           SEX TRAFFICKING

          13.   In or about 2014, LAWRENCE RAY, a/k/a "Lawrence

Grecco," the defendant, told Female Victim-1 that she should

repay the supposed damages she owed to RAY, including for

damaging the Pinehurst Property and for poisoning RAY, by

working as a prostitute.   This followed several years of sexual

grooming by RAY of Female Victim-1 and other Victims, including

an occasion while Female Victim-1 and Male Victim-1 were still

college students, where RAY directed Female Victim-1 to engage

in sex acts with Male Victim-1 while RAY observed.

          14.   From in or about 2014 through at least in or

about 2018, Female Victim-1 worked as a prostitute at the

direction of LAWRENCE RAY, a/k/a "Lawrence Grecco," the

defendant, and RAY obtained the majority of Female Victim-l's

proceeds, amounting to over half a million dollars, through

force, threats of force, fraud, and coercion, including the

following means, among others:

                a.   RAY collected sensitive, humiliating, and


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incriminating material against Female Victim-1, which he later

used to coerce Female Victim-1 to engage in continued

prostitution.     RAY subjected Female Victim-1 to interrogations

and falsely accused Female Victim-1 of poisoning him and his

family members and other associates, and of causing him monetary

damage, including to the Pinehurst Property.     RAY kept records

of Female Victim-l's false confessions, including the Female

Victim-1 Confession Video.     RAY saved explicit photographs of

Female Victim-1, including photographs RAY had taken, and

photographs RAY directed Female Victim-1 to send him.

                  b.   RAY threatened to turn Female Victim-1 in to

law enforcement, and to bring proof of Female Victim-l's

supposed crimes to law enforcement such as the Female Victim-1

Confession Video, if Female Victim-1 did not see a higher volume

of prostitution clients and make more payments for the money

Female Victim-1 supposedly owed to RAY.

                  c.   RAY was physically violent with Female

Victim-1.    On one occasion, RAY tied Female Victim-1 to a chair,

placed a plastic bag over her head nearly suffocating her, and

told Female Victim-1, in substance and in part, to behave and

focus on paying him more money.

                           MONEY LAUNDERING

            15.   During the time period relevant to this


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     Indictment, LAWRENCE RAY, a/k/a "Lawrence Grecco," the

     defendant, tried to conceal his criminal activity and the

     corresponding proceeds.   RAY laundered the proceeds of his

     criminal activity through the bank accounts of others, including

     some of the Victims, and caused tens of thousands of dollars to

     be wired to his associates from those bank accounts.     RAY also

     laundered money through an online domain business, where RAY

     principally bought internet domain names and sold them at a

     profit.   RAY's victims and associates made payments totaling

     nearly a million dollars toward the upkeep of RAY's domain

     business, including to pay for new internet domain names

     purchased by RAY and for the monthly fees associated with

     hosting RAY's internet domains.

                            STATUTORY ALLEGATIONS

                                  COUNT ONE
                            (Extortion Conspiracy)

                The Grand Jury further charges:

                16.   The Grand Jury incorporates the allegations

     contained in paragraphs 1 through 14 of this Indictment as

     though fully set forth herein.

                17.   From in or about 2011, up to and including at

     least in or about 2018, in the Southern District of New York and

     elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco," the defendant,

     and others known and unknown, knowingly did combine, conspire,
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confederate, and agree together and with each other to commit

extortion, as that term is defined in Title 18, United States

Code, Section 1951(b) (2), by obtaining money and property from

and with the consent of another person, which consent would have

been and was induced by the wrongful use of actual and

threatened force, violence, and fear, and would and did thereby

obstruct, delay, and affect commerce and the movement of·

articles and commodities in commerce, as that term is defined in

Title 18, United States Code, Section 1951(b) (3), to wit, RAY,

and others known and unknown, obtained money from the Victims by

force, threats of force, and fear.

           (Title 18, United States Code, Section 1951.)

                             COUNT TWO
                            (Extortion)

          The Grand Jury further charges:

          18.   The Grand Jury incorporates the allegations

contained in paragraphs 1 through 14 of this Indictment as

though fully set forth herein.

          19.   From in or about 2011, up to and including at

least in or about 2018, in the Southern District of New York and

elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco," the defendant,

knowingly did commit extortion, as that term is defined in Title

18, United States Code, Section 1951(b) (2), by obtaining money

and property from and with the consent of another person, which
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consent would have been and was induced by the wrongful use of

actual and threatened force, violence, and fear, and would and

did thereby obstruct, delay, and affect commerce and the

movement of articles and commodities in commerce, as that·term

is defined in Title 18, United States Code, Section 1951(b) (3),

and aided and abetted the same, to wit, RAY obtained money from

Female Victim-1 by force, threats of force, and fear.

       (Title 18, United States Code, Sections 1951 and 2.)

                             COUNT THREE
                          (Sex Trafficking)

          The Grand Jury further charges:

          20.   The Grand Jury incorporates the allegations

contained in paragraphs 1 through 14 of this Indictment as

though fully set forth herein.

          21.   From in or about 2011, up to and including at

least in or about 2018, in the Southern District of New York and

elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco," the defendant,

knowingly, in and affecting interstate and foreign commerce, did

recruit, entice, harbor, transport, provide, obtain, advertise,

and maintain, by any means a person, and did benefit,

financially and by receiving anything of value, from

participation in a venture which had engaged in such acts,

knowing and in reckless disregard of the fact that force,

thre~ts of force,   fraud, and coercion, as described in Title 18,
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United States Code, Section 1591(e) (2), and any combination of

such means, would be used to cause the person to engage in a

commercial sex act, and aided and abetted the same, to wit, RAY

recruited, enticed, harbored, provided, obtained, advertised,

and maintained Female Victim-1, and caused Female Victim-1 to

engage in commercial sex acts, and benefited financially from

participation in Female Victim-l's prostitution venture,

knowing, and in reckless disregard of the fact, that Female

Victim-1 was engaging in commercial sex acts as a result of

force,   threats of force,   fraud, and coercion.

         (Title 18, United States Code, Sections 1591 and 2.)

                               COUNT FOUR
                             (Forced Labor)

            The Grand Jury further charges:

            22.   The Grand Jury incorporates the allegations

contained in paragraphs 1 through 12 of this Indictment as

though fully set forth herein.

            23.   From at least in or about May 2013 up to and

inc~uding at least in or about December 2013, in the Southern

District of New York and elsewhere, LAWRENCE RAY, a/k/a

"Lawrence Grecco," the defendant, knowingly did obtain the labor

and services of a person by means of (a) force, threats of

force, physical restraint and threats of physical restraint to

her and one or more other persons,      (b) serious harm and threats
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    of serious harm to her and one or more other persons,   (c) the

    abuse and threatened abuse of law and legal process, and (d) one

    or more schemes, plans and patterns intended to cause her to

    believe that, if she did not perform such labor and services,

    she and one or more other persons would suffer serious harm and

    physical restraint, and a combination of such means, in

    violation of Title 18, United States Code, Sections 1589(a) and

    2, to wit, RAY obtained the physical labor and services of

    Female Victim-1, Female Victim-2, and Female Victim-3 on the

    Pinehurst Property through the use of force, threats of force,

    serious harm and threats of serious harm, the threatened abuse

    of law or legal process, and schemes intended to cause those

    Victims to believe that if they did not perform the labor, those

    Victims and others would suffer serious harm.

           (Title 18, United States Code, Sections 1589 and 2.)

                                COUNT FIVE
                        (Forced Labor Trafficking)

              The Grand Jury further charges:

              24.   The Grand Jury incorporates the allegations,

    contained in paragraphs 1 through 12 of this Indictment as

    though fully set forth herein.

              25.   From at least in or about May 2013 up to and

    including at least in or about December 2013, in the Southern

    District of New York and elsewhere, LAWRENCE RAY, a/k/a
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"Lawrence Grecco," the defendant, knowingly did recruit, harbor,

transport, provide, and obtain by any means, persons for labor

and services in violation of Title 18, United States Code,

Section 1589(a), and aided and abetted the same, to wit, RAY

recruited, harbored, transported, provided and obtained Female

Victim-1, Female Victim-2, and Female Victim-3 for labor and

services on the Pinehurst Property in violation of Title 18,

United States Code, Section 1589(a).

       (Title 18, United States Code, Sections 1590 and 2.)

                                COUNT SIX
                        (Forced Labor Conspiracy)

             The Grand Jury further charges:

             26.   The Grand Jury incorporates the allegations

contained in paragraphs 1 through 12 of this Indictment as

though fully set forth herein.

             27.   From at least in or about May 2013 up to and

including at least in or about December 2013, in the Southern

District of New York and elsewhere, LAWRENCE RAY, a/k/a

"Lawrence Grecco," the defendant, and others known and unknown,

unlawfully and knowingly did combine, conspire, confederate, and

agree together and with each other to provide and obtain the

labor and services of one and more persons, by means of

(a) force,    threats of force, physical restraint and threats of

physical restraint to her and one or more other persons,
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(b) serious harm and threats of serious harm to her and one -0r

more other persons,   (c) the abuse and threatened abuse of law

and legal process, and (d) one or more schemes, plans and

patterns intended to cause her to believe that, if she did not

perform such labor and services, she and one or more other

persons would suffer serious harm and physical restraint, and a

combination of such means, in violation of Title 18, United

States Code, Section 1589(a),    to wit, RAY conspired with others

to commit forced labor, as described in Count Four of this

Indictment.

          (Title 18, United States Code, Section 1594.)

                          COUNT SEVEN
    (Use of Interstate Commerce To Promote Unlawful Activity)

          The Grand Jury further charges:

          28.   The Grand Jury incorporates the allegations

contained in paragraphs 1 through 14 of this Indictment as

though fully set forth herein.

          29.   From at least in or about 2014 up to and

including at least in or about 2018, in the Southern District of

New York and elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco,"

the defendant, did use and cause to be used facilities in

interstate and foreign commerce, with the intent to promote,

manage, establish, carry ori, and facilitate the promotion,

management, establishment, and carrying on of an unlawful
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activity, and thereafter performed and attempted to perform an

act to promote, manage, establish and carry on, and to

facilitate the promotion, management, establishment, and

carrying on of an unlawful activity, namely a business

enterprise involving prostitution, and aided and abetted the

same, to wit, RAY used a cellular phone and the Internet, and

traveled in interstate commerce, to promote, manage, and carry

on a criminal business engaged in sex trafficking and

prostitution, and promoting prostitution, in violation of New

York Penal Law Sections 230.00, 230.20, 230.25, 230.30, and

230.32.

    (Title 18, United States Code, Sections 1952 (a) (3) and 2.)

                          COUNT EIGHT
    (Use of Interstate Commerce To Promote Unlawful Activity)

          The Grand Jury further charges:

          30.   The Grand Jury incorporates the allegations

contained in paragraphs 1 through 14 of this Indictment as

though fully set forth herein.

          31.   From at least in or about 2011 up to and

including at least in or about 2018, in the Southern District of

New York and elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco,"

the defendant, did use and cause to be used facilities in

interstate and foreign commerce, with the intent to promote,

manage, establish, carry on, and facilitate the promotion,
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management, establishment, and carrying on of an unlawful

activity, and thereafter performed and attempted to perform an

act to promote, manage, establish and carry on, and to

facilitate the promotion, management, establishment, and

carrying on of an unlawful activity, namely a business

enterprise involving extortion, and aided and abetted the same,

to wit, RAY used a cellular phone and the Internet, and traveled

in interstate commerce, to promote, manage, and carry on

extortion, in violation of New York Penal Law Sections 155.30(6)

and 20.00.

    (Title 18, United States Code, Sections 1952 (a) (3) and 2.)

                               COUNT NINE
                           (Money Laundering)

     The Grand Jury further charges:

             32.   The Grand Jury incorporates the allegations

contained in paragraphs 1 through 15 of this Indictment as

though fully set forth herein.

             33.   From at least in or about 2011 up to and

including at least in or about 2018, in the Southern District of

New York and elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco,"

the defendant, knowing that the property involved in certain

financial transactions represented the proceeds of some form of

unlawful activity, conducted and attempted to conduct such

financial transactions, which in fact involved the proceeds of
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specified unlawful activity, to wit,    (i) extortion, in violation

of Title 18, United States Code, Section 1951; and (ii) sex

trafficking, in violation of Title 18, United States Code,

Section 1591, knowing that the transactions were designed in

whole and in part to conceal and disguise the nature, the

location, the source, the ownership, and the control of the

proceeds of specified unlawful activity, and to avoid a

transaction reporting requirement under State and Federal law.

 (Title 18, United States Code, Sections 1956(a) (1) (B) (i) and 2.)

            FORFEITURE ALLEGATION AS TO COUNTS ONE AND TWO

            34.   As a result of committing the offenses alleged in

Counts One and Two of this Indictment, LAWRENCE RAY, a/k/a

"Lawrence Grecco," the defendant, shall forfeit to the United

States, pursuant to Title 18, United States Code, Section

981 (a) (1) (C) and Title 28 United States Code, Section 2461 (c),

any and all property, real and personal, that constitutes or is

derived from proceeds traceable to the commission of said

offense, including but not limited to a sum of money in United

States currency representing the amount of proceeds traceable to

the commission of said offense that the defendant personally

obtained.

  FORFEITURE ALLEGATION AS TO COUNTS THREE, FOUR, FIVE, AND SIX

            35.   As a result of committing the offenses alleged in


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Co_unts Three, Four, Five, and Six of this Indictment, LAWRENCE

RAY, a/k/a "Lawrence Grecco," the defendant, shall forfeit to

the United States, pursuant to Title 18, United States Code,

Section 1594:    (1) any property, real and personal, that was

involved in, used or intended to be used to commit or to

facilitate the commission of the offenses, and any property

traceable to such property; and (2) any property, real and

personal, constituting or derived from, any proceeds obtained,

directly or indirectly, as a result of the offenses, or any

property traceable to such property.

                FORFEITURE ALLEGATION AS TO COUNT NINE

          36.    As a result of committing the offense alleged in

Count Nine of this Indictment, LAWRENCE RAY, a/k/a "Lawrence

Grecco," the defendant, shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 982(a) (1), any

and all property, real and personal, involved in said offense,

or any property traceable to such property, including but not

limited to a sum of money in United States currency representing

the amount of property involved in said offense~

                     Substitute Assets Provision

          37.    If any of the above-described forfeitable

property, as a result of any a~t or omission of the defendant:

          a.     cannot be located upon the exercise of due


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                 diligence;

            b.   has been transferred or sold to, or deposited

                 with, a third person;

            c.   has been placed beyond the jurisdiction of the

                 Court;

            d.   has been substantially diminished in value; or

            e.   has been commingled with other property which

            cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p); and Title 28 United States

Code, Section 246l(c), to seek forfeiture of any other property

of the defendant up to the value of the above forfeitable

property.

  (Title 18, United States Code, Sections 981 and 982; Title 21,
   United States Code, Section 853; and Title 28, United States
                       Code, Section 2461.)



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                                      United States Attorney




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                  Form No. USA-33s-274       (Ed. 9-25-58)



                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
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                       UNITED STATES OF AMERICA

                                    - v. -

                             LAWRENCE RAY,
                        a/k/a "Lawrence Grecco,"

                                  Defendant.


                                    SEALED
                                  INDICTMENT

                                    20 Cr.

(18 U.S.C.   §§   1951, 1591, 1589, 1590, 1594, 1592, 1956, and 2.)

                         GEOFFREY S. BERMAN
                        United States Attorney

                                  A TRUE BILL




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